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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

RAYMOND REDLICH, et al.,                         )
                                                 )
     PLAINTIFFS,                                 )
                                                 )
v.                                               )   Case No. 4:19-CV-00019
                                                 )
CITY OF ST. LOUIS,                               )
                                                 )
     DEFENDANT.                                  )

                    CONSENT MOTION FOR A PROTECTIVE ORDER

        Defendant City of St. Louis, through counsel, hereby moves this Court to enter a
protective order protecting documents, other tangible items, and/or testimony relating to
confidential and/or proprietary information produced in connection with this matter. In support
of its motion, Defendant states as follows:
1.      Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(ii), Defendant identified certain

        documents which it may use to support its claims and defenses. These documents may

        include police reports with arrestee information, security-sensitive policies, and medical

        records.

2.      Defendant anticipates that additional sensitive and confidential material will be identified

        and produced in this case.

3.      Understanding the reasons for the confidential treatment of certain materials, Defendant

        believes that a protective order will continue to facilitate discovery in this matter while

        protecting confidential materials from being made public. A copy of the stipulated

        proposed protective order is attached as Exhibit A.

4.      The protective order will not hinder discovery. Rather it will facilitate the parties’ ability

        to proceed with their respective discovery obligations.
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5.     Counsel for the Plaintiff has been contacted, reviewed the proposed stipulated order

       attached as Exhibit A, and consents to the entry of the protective order.



                                                                          Respectfully Submitted,

                                                                                 JULIAN BUSH
                                                                             CITY COUNSELOR

                                                                     By: /s/ Abby Duncan
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                                CERTIFICATE OF SERVICE

       I hereby certify the foregoing was electronically filed on February 28, 2020 with the
Court for service by means of Notice of Electronic Filing upon all attorneys of record.


                                                                            /s/ Abby Duncan
